Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 1 of 29
Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 2 of 29
Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 3 of 29
Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 4 of 29
Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 5 of 29
Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 6 of 29
Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 7 of 29
Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 8 of 29
Case 20-02804-jw   Doc 29-1    Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                              Exhibit Page 9 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 10 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 11 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 12 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 13 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 14 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 15 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 16 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 17 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 18 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 19 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 20 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 21 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 22 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 23 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 24 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 25 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 26 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 27 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 28 of 29
Case 20-02804-jw   Doc 29-1 Filed 08/12/20 Entered 08/12/20 09:14:02   Desc
                           Exhibit Page 29 of 29
